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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA




              Payvox LLC,                                      Case No. 1:24-cv-20725-DPG

                     Plaintiff,

                     v.

              HMD AMERICA, INC. ,

                     Defendant.



                                   NOTICE OF FILING PROPOSED SUMMONS

            Plaintiff hereby files this Notice of Filing Proposed Summons with the Summons

  attached herein after successfully submitting an electronic payment for the filing fee in this

  matter.

  Dated: February 29, 2024                      Respectfully submitted,

                                                /s/ Terry M. Sanks, Esquire
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                                        CERTIFICATE OF SERVICE

         The undersigned certifies that a copy of the foregoing document was served on all parties

  who have appeared in this case on February 29, 2024 via the Court’s CM/ECF system.



                                              /s/ Terry M. Sanks, Esquire
                                              Terry M. Sanks, Esquire




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